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                                                                                ^EQ. ^,
                             UNITEDSTATESDISTRICT COURT RiCHARO'VJ. NAGEL
                               SOUTHERN DISTRICT OF OHIO
                                                    OHIO                  "CLERK "^GOURT
                                   EASTERN DIVISION
                                                                              ,.-l^^\ii:-
 UNITED STATES OF AMEMCA,                              CASE N(
                                                                           ^^H^LlsfmcT
                Plaintiff,                             JUDG                                 'nHBUS

         vs.                                            INDICTMENT

 DUKEHERBERTJR.,                                       21 U. S. C. § 841(a)(l)
    aka "DJ,"                                          21 U. S. C. § 841(b)(l)(B)
                                                       21 U. S. C. § 841(b)(l)(C)
                Defendant.                             21 U. S. C. § 846


THE GRAND JURY CHARGES:

                                          COUNT ONE
                                     (DistributionofFentanyl)

       On or about March 5, 2024, in the Southern District of Ohio, the defendant, DUKE

HERBERTJR., didknowingly and intentionally distribute a mixture and substancecontaining a

detectable amount ofN-phenyl-N-[l-(2-phenylethyl)-4-piperidinyl] propanamide, commonly

referred to as fentanyl, a Schedule II controlled substance.

       In violation of 21 U. S. C. §§ 841(a)(l) and 841(b)(l)(C).

                                          COUNT TWO
                                     (Distribution ofFentanyl)

       On or about March 7. 2024. in the Southern District of Ohio, the defendant, DUKE

HERBERT JR., did knowingly and intentionally distribute a mixture and substance containing a

detectable amount ofN-phenyl-N-[l-(2-phenylethyl)-4-piperidinyl]propanamide, commonly

referred to as fentanyl, a Schedule II controlled substance.

       In violation of 21 U. S. C. §§ 841(a)(l) and 841(b)(l)(C).
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                                       COUNT THREE
                               (Conspiracy to Distribute Fentanyl)

       On or about March 14, 2024, in the Southern District of Ohio, the defendant, DUKE

HERBERTJR., did knowingly and intentionally combine, conspire, confederate andagreewith

other individuals,both knownandunknownto the GrandJuiy, to distribute a mixture and

substancecontaininga detectable amount ofN-phenyl-N-[l-(2-phenylethyl)-4-piperidinyl]

propanamide, commonly referredto as fentanyl, a ScheduleII controlled substance.

       In violation of 21 U. S. C. §§ 846, 841(a)(l), and 841(b)(l)(C).

                                        COUNT FOUR
                              (Distribution ofFentanyl Analogue)

       On or about March 22, 2024, in the Southern District of Ohio, the defendant, DUKE

HERBERTJR., didknowingly andintentionally distribute 10 grams or more ofa mixture and

substancecontaininga detectable amount ofacetyl fentanyl, an analogueofN-phenyl-N-[l-(2-

phenylethyl)-4-piperidinyl] propanamide, commonly referredto as fentanyl, as definedin 21

U. S.C. § 802(32), knowingthatthe substancewas intendedfor humanconsumption as provided

in21U. S. C. §813.

        In violation of 21 U. S. C. §§ 841(a)(l) and 841(b)(l)(B)(vi).


                                                     A TRUE BILL.

                                                     s/Foreperson

                                                     FOREPERSON

KELLYA. NORMS
Acting United States Attorney

 ^.r                                                 4^6
NICOLE PAKIZ (0096242)                                 ELIZABETH GERAGHTY (0072275)
Assistant United States Attorney                       Assistant United States Attorney
